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 1   DURIE TANGRI LLP
     DARALYN J. DURIE (SBN 169825)
 2   ddurie@durietangri.com
     DAVID McGOWAN (SBN 154289)
 3   dmcgowan@durietangri.com
     VERA RANIERI (SBN 271594)
 4   vranieri@durietangri.com
     217 Leidesdorff Street
 5   San Francisco, CA 94111
     Telephone: 415-362-6666
 6   Facsimile: 415-236-6300
 7 DURIE TANGRI LLP
   TARA J. NORRIS (SBN 305249)
 8 tnorris@durietangri.com
   530 Molino Street, Suite 111
 9 Los Angeles, CA 90013
   Telephone: 213-992-4499
10 Facsimile: 415-236-6300

11   Attorneys for Defendant
     CITY OF HOPE
12

13                      IN THE UNITED STATES DISTRICT COURT
14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                      WESTERN DIVISION
16   ARMEN MARDIROS, an individual,              Case No. 2:19-cv-02196-R(MAAx)
17                             Plaintiff,        STIPULATED PROTECTIVE ORDER
18        v.                                     Ctrm: 880, 8th Floor
                                                 Judge: Honorable Manuel L. Real
19 CITY OF HOPE, a California nonprofit
20 corporation,

21                             Defendant.
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 1         1.     A.     PURPOSES AND LIMITATIONS
 2         Discovery in this action is likely to involve production of confidential, proprietary,
 3   or private information for which special protection from public disclosure and from use
 4   for any purpose other than prosecuting this litigation may be warranted. Accordingly, the
 5   parties hereby stipulate to and petition the Court to enter the following Stipulated
 6   Protective Order. The parties acknowledge that this Order does not confer blanket
 7   protections on all disclosures or responses to discovery and that the protection it affords
 8   from public disclosure and use extends only to the limited information or items that are
 9   entitled to confidential treatment under the applicable legal principles. The parties further
10   acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order
11   does not entitle them to file confidential information under seal; Civil Local Rule 79-5
12   sets forth the procedures that must be followed and the standards that will be applied
13   when a party seeks permission from the court to file material under seal.
14         B.     GOOD CAUSE STATEMENT
15         This action is likely to involve trade secrets and other valuable research,
16   development, commercial, financial, technical and/or proprietary information, as well as
17   sensitive medical records, for which special protection from public disclosure and from
18   use for any purpose other than prosecution of this action is warranted. Such confidential
19   and proprietary materials and information consist of, among other things, confidential
20   business or financial information, information regarding confidential business practices,
21   or other confidential research, development, or commercial information (including
22   information implicating privacy rights of third parties), information otherwise generally
23   unavailable to the public, or which may be privileged or otherwise protected from
24   disclosure under state or federal statutes, court rules, case decisions, or common law.
25   Accordingly, to expedite the flow of information, to facilitate the prompt resolution of
26   disputes over confidentiality of discovery materials, to adequately protect information the
27   parties are entitled to keep confidential, to ensure that the parties are permitted reasonable
28   necessary uses of such material in preparation for and in the conduct of trial, to address
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 1   their handling at the end of the litigation, and serve the ends of justice, a protective order
 2   for such information is justified in this matter. It is the intent of the parties that
 3   information will not be designated as confidential for tactical reasons and that nothing be
 4   so designated without a good faith belief that it has been maintained in a confidential,
 5   non-public manner, and there is good cause why it should not be part of the public record
 6   of this case.
 7          2.       DEFINITIONS
 8          2.1      Action: this pending federal lawsuit, Case No. 2:19-cv-02196-R(MAAx).
 9          2.2      Challenging Party: a Party or Non-Party that challenges the designation of
10   information or items under this Order.
11          2.3      “CONFIDENTIAL” Information or Items: information (regardless of how it
12   is generated, stored or maintained) or tangible things that qualify for protection under
13   Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
14   Statement.
15          2.4      Counsel: Outside Counsel of Record and House Counsel (as well as their
16   support staff).
17          2.5      Designating Party: a Party or Non-Party that designates information or items
18   that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
19          2.6      Disclosure or Discovery Material: all items or information, regardless of the
20   medium or manner in which it is generated, stored, or maintained (including, among other
21   things, testimony, transcripts, and tangible things), that are produced or generated in
22   disclosures or responses to discovery in this matter.
23          2.7      Expert: a person with specialized knowledge or experience in a matter
24   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
25   expert witness or as a consultant in this Action.
26          2.8      House Counsel: attorneys who are employees of a party to this Action.
27   House Counsel does not include Outside Counsel of Record or any other outside counsel.
28          2.9      Non-Party: any natural person, partnership, corporation, association, or other
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 1   legal entity not named as a Party to this action.
 2         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
 3   this Action but are retained to represent or advise a party to this Action and have appeared
 4   in this Action on behalf of that party or are affiliated with a law firm which has appeared
 5   on behalf of that party, and includes support staff.
 6         2.11 Party: any party to this Action, including all of its officers, directors,
 7   employees, consultants, retained experts, and Outside Counsel of Record (and their
 8   support staffs).
 9         2.12 Producing Party: a Party or Non-Party that produces Disclosure or Discovery
10   Material in this Action.
11         2.13 Professional Vendors: persons or entities that provide litigation support
12   services (e.g., photocopying, videotaping, translating, preparing exhibits or
13   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
14   their employees and subcontractors.
15         2.14 Protected Material: any Disclosure or Discovery Material that is designated
16   as “CONFIDENTIAL.”
17         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material from
18   a Producing Party.
19         3.     SCOPE
20         The protections conferred by this Stipulation and Order cover not only Protected
21   Material (as defined above), but also (1) any information copied or extracted from
22   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
23   Material; and (3) any testimony, conversations, or presentations by Parties or their
24   Counsel that might reveal Protected Material.
25         Any use of Protected Material at trial shall be governed by the orders of the trial
26   judge. This Order does not govern the use of Protected Material at trial.
27         4.     DURATION
28         Even after final disposition of this litigation, the confidentiality obligations imposed
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 1   by this Order shall remain in effect until a Designating Party agrees otherwise in writing
 2   or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)
 3   dismissal of all claims and defenses in this Action, with or without prejudice; and (2) final
 4   judgment herein after the completion and exhaustion of all appeals, rehearings, remands,
 5   trials, or reviews of this Action, including the time limits for filing any motions or
 6   applications for extension of time pursuant to applicable law.
 7         5.     DESIGNATING PROTECTED MATERIAL
 8         5.1    Exercise of Restraint and Care in Designating Material for Protection. Each
 9   Party or Non-Party that designates information or items for protection under this Order
10   must take care to limit any such designation to specific material that qualifies under the
11   appropriate standards. The Designating Party must designate for protection only those
12   parts of material, documents, items, or oral or written communications that qualify so
13   that other portions of the material, documents, items, or communications for which
14   protection is not warranted are not swept unjustifiably within the ambit of this Order.
15         Mass, indiscriminate, or routinized designations are prohibited. Designations that
16   are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
17   to unnecessarily encumber the case development process or to impose unnecessary
18   expenses and burdens on other parties) may expose the Designating Party to sanctions.
19         If it comes to a Designating Party’s attention that information or items that it
20   designated for protection do not qualify for protection, that Designating Party must
21   promptly notify all other Parties that it is withdrawing the inapplicable designation.
22         5.2    Manner and Timing of Designations. Except as otherwise provided in this
23   Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
24   ordered, Disclosure or Discovery Material that qualifies for protection under this Order
25   must be clearly so designated before the material is disclosed or produced.
26         Designation in conformity with this Order requires:
27         (a)    for information in documentary form (e.g., paper or electronic documents,
28   but excluding transcripts of depositions or other pretrial or trial proceedings), that the
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 1   Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
 2   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
 3   portion or portions of the material on a page qualifies for protection, the Producing Party
 4   also must clearly identify the protected portion(s) (e.g., by making appropriate markings
 5   in the margins).
 6         A Party or Non-Party that makes original documents available for inspection need
 7   not designate them for protection until after the inspecting Party has indicated which
 8   documents it would like copied and produced. During the inspection and before the
 9   designation, all of the material made available for inspection shall be deemed
10   “CONFIDENTIAL” After the inspecting Party has identified the documents it wants
11   copied and produced, the Producing Party must determine which documents, or portions
12   thereof, qualify for protection under this Order. Then, before producing the specified
13   documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page
14   that contains Protected Material. If only a portion or portions of the material on a page
15   qualifies for protection, the Producing Party also must clearly identify the protected
16   portion(s) (e.g., by making appropriate markings in the margins).
17         (b)    for testimony given in depositions that the Designating Party identify the
18   Disclosure or Discovery Material on the record, before the close of the deposition all
19   protected testimony.
20         (c)    for information produced in some form other than documentary and for any
21   other tangible items, that the Producing Party affix in a prominent place on the exterior of
22   the container or containers in which the information is stored the legend
23   “CONFIDENTIAL.” If only a portion or portions of the information warrants protection,
24   the Producing Party, to the extent practicable, shall identify the protected portion(s).
25         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
26   to designate qualified information or items does not, standing alone, waive the
27   Designating Party’s right to secure protection under this Order for such material. Upon
28   timely correction of a designation, the Receiving Party must make reasonable efforts to
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 1   assure that the material is treated in accordance with the provisions of this Order.
 2         6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
 3         6.1      Timing of Challenges. Any Party or Non-Party may challenge a designation
 4   of confidentiality at any time that is consistent with the Court’s Scheduling Order.
 5         6.2      Meet and Confer. The Challenging Party shall initiate the dispute resolution
 6   process under Local Rule 37.1 et seq.
 7         6.3      The burden of persuasion in any such challenge proceeding shall be on the
 8   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to
 9   harass or impose unnecessary expenses and burdens on other parties) may expose the
10   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn the
11   confidentiality designation, all parties shall continue to afford the material in question the
12   level of protection to which it is entitled under the Producing Party’s designation until the
13   Court rules on the challenge.
14         7.       ACCESS TO AND USE OF PROTECTED MATERIAL
15         7.1      Basic Principles. A Receiving Party may use Protected Material that is
16   disclosed or produced by another Party or by a Non-Party in connection with this Action
17   only for prosecuting, defending, or attempting to settle this Action. Such Protected
18   Material may be disclosed only to the categories of persons and under the conditions
19   described in this Order. When the Action has been terminated, a Receiving Party must
20   comply with the provisions of section 13 below (FINAL DISPOSITION).
21         Protected Material must be stored and maintained by a Receiving Party at a location
22   and in a secure manner that ensures that access is limited to the persons authorized under
23   this Order.
24         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
25   ordered by the court or permitted in writing by the Designating Party, a Receiving Party
26   may disclose any information or item designated “CONFIDENTIAL” only to:
27         (a)      the Receiving Party’s Outside Counsel of Record in this Action, as well as
28   employees of said Outside Counsel of Record to whom it is reasonably necessary to
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 1   disclose the information for this Action;
 2         (b)    the officers, directors, and employees (including House Counsel) of the
 3   Receiving Party (or, in the case of Dr. Mardiros, the Receiving Party himself) to whom
 4   disclosure is reasonably necessary for this Action;
 5         (c)    Experts (as defined in this Order) of the Receiving Party to whom disclosure
 6   is reasonably necessary for this Action and who have signed the “Acknowledgment and
 7   Agreement to Be Bound” (Exhibit A);
 8         (d)    the court and its personnel;
 9         (e)    court reporters and their staff;
10         (f)    professional jury or trial consultants, mock jurors, and Professional Vendors
11   to whom disclosure is reasonably necessary for this Action and who have signed the
12   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
13         (g)    the author or recipient of a document containing the information or a
14   custodian or other person who otherwise possessed or knew the information;
15         (h)    during their depositions, witnesses ,and attorneys for witnesses, in the Action
16   to whom disclosure is reasonably necessary provided: (1) the deposing party requests that
17   the witness sign the form attached as Exhibit A hereto; and (2) they    will not be
18   permitted to keep any confidential information unless they sign           the
19   “Acknowledgment and       Agreement to          Be    Bound”      (Exhibit      A),    unless
20   otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed
21   deposition testimony or exhibits to depositions that reveal Protected Material may be
22   separately bound by the court reporter and may not be disclosed to anyone except as
23   permitted under this Stipulated Protective Order; and
24         (i)    any mediator or settlement officer, and their supporting personnel, mutually
25   agreed upon by any of the parties engaged in settlement discussions.
26         8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
27   IN OTHER LITIGATION
28         If a Party is served with a subpoena or a court order issued in other litigation that
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 1   compels disclosure of any information or items designated in this Action as
 2   “CONFIDENTIAL,” that Party must:
 3         (a)    promptly notify in writing the Designating Party. Such notification shall
 4   include a copy of the subpoena or court order;
 5         (b)    promptly notify in writing the party who caused the subpoena or order to
 6   issue in the other litigation that some or all of the material covered by the subpoena or
 7   order is subject to this Protective Order. Such notification shall include a copy of this
 8   Stipulated Protective Order; and
 9         (c)    cooperate with respect to all reasonable procedures sought to be pursued by
10   the Designating Party whose Protected Material may be affected.
11         If the Designating Party timely seeks a protective order, the Party served with the
12   subpoena or court order shall not produce any information designated in this action as
13   “CONFIDENTIAL” before a determination by the court from which the subpoena or
14   order issued, unless the Party has obtained the Designating Party’s permission. The
15   Designating Party shall bear the burden and expense of seeking protection in that court of
16   its confidential material and nothing in these provisions should be construed as
17   authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive
18   from another court.
19         9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
20   PRODUCED IN THIS LITIGATION
21         (a)    The terms of this Order are applicable to information produced by a Non-
22   Party in this Action and designated as “CONFIDENTIAL” Such information produced by
23   Non-Parties in connection with this litigation is protected by the remedies and relief
24   provided by this Order. Nothing in these provisions should be construed as prohibiting a
25   Non-Party from seeking additional protections.
26         (b)    In the event that a Party is required, by a valid discovery request, to produce
27   a Non-Party’s confidential information in its possession, and the Party is subject to an
28   agreement with the Non-Party not to produce the Non-Party’s confidential
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 1   information, then the Party shall:
 2                (1)       promptly notify in writing the Requesting Party and the Non-Party that
 3   some or all of the information requested is subject to a confidentiality agreement with a
 4   Non-Party;
 5                (2)       promptly provide the Non-Party with a copy of the Stipulated
 6   Protective Order in this Action, the relevant discovery request(s), and a reasonably
 7   specific description of the information requested; and
 8                (3)       make the information requested available for inspection by the Non-
 9   Party, if requested.
10         (c)    If the Non-Party fails to seek a protective order from this court within 14
11   days of receiving the notice and accompanying information, the Receiving Party may
12   produce the Non-Party’s confidential information responsive to the discovery request. If
13   the Non-Party timely seeks a protective order, the Receiving Party shall not produce any
14   information in its possession or control that is subject to the confidentiality agreement
15   with the Non-Party before a determination by the court. Absent a court order to the
16   contrary, the Non-Party shall bear the burden and expense of seeking protection in this
17   court of its Protected Material.
18         10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
19         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
20   Protected Material to any person or in any circumstance not authorized under this
21   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
22   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
23   unauthorized copies of the Protected Material, (c) inform the person or persons to whom
24   unauthorized disclosures were made of all the terms of this Order, and (d) request such
25   person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
26   attached hereto as Exhibit A.
27         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
28   PROTECTED MATERIAL
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 1         When a Producing Party gives notice to Receiving Parties that certain inadvertently
 2   produced material is subject to a claim of privilege or other protection, the obligations of
 3   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
 4   The production of privileged, work product, or otherwise protected documents or
 5   information shall not be deemed a waiver of the privilege, work product, or other
 6   protection or immunity from discovery by the Producing Party in this case or in any other
 7   federal or state proceeding. This Order shall be interpreted to provide the maximum
 8   protection allowed by Federal Rule of Evidence 502(d).
 9         This provision is not intended to modify whatever procedure may be established in
10   an e-discovery order that provides for production without prior privilege review. Pursuant
11   to Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on
12   the effect of disclosure of a communication or information covered by the attorney-client
13   privilege or work product protection, the parties may incorporate their agreement in the
14   stipulated protective order submitted to the court.
15         12.    MISCELLANEOUS
16         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
17   person to seek its modification by the Court in the future.
18         12.2 Right to Assert Other Objections. By stipulating to the entry of this
19   Protective Order no Party waives any right it otherwise would have to object to disclosing
20   or producing any information or item on any ground not addressed in this Stipulated
21   Protective Order. Similarly, no Party waives any right to object on any ground to use in
22   evidence of any of the material covered by this Protective Order.
23         12.3 Filing Protected Material. A Party that seeks to file under seal any Protected
24   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
25   under seal pursuant to a court order authorizing the sealing of the specific Protected
26   Material at issue. If a Party's request to file Protected Material under seal is denied by the
27   court, then the Receiving Party may file the information in the public record unless
28   otherwise instructed by the court.
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 1         13.    FINAL DISPOSITION
 2         After the final disposition of this Action, as defined in section 4, within 60 days of a
 3   written request by the Designating Party, each Receiving Party must return all Protected
 4   Material to the Producing Party or destroy such material. As used in this subdivision, “all
 5   Protected Material” includes all copies, abstracts, compilations, summaries, and any other
 6   format reproducing or capturing any of the Protected Material. Whether the Protected
 7   Material is returned or destroyed, the Receiving Party must submit a written certification
 8   to the Producing Party (and, if not the same person or entity, to the Designating Party) by
 9   the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected
10   Material that was returned or destroyed and (2) affirms that the Receiving Party has not
11   retained any copies, abstracts, compilations, summaries or any other format reproducing
12   or capturing any of the Protected Material. Notwithstanding this provision, Counsel are
13   entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and
14   hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
15   reports, attorney work product, and consultant and expert work product, even if such
16   materials contain Protected Material. Further, notwithstanding the foregoing, counsel
17   should make a reasonable effort to remove electronically stored information in their own
18   emails and computers/networks, but are not required to review internal emails or
19   correspondence with their own client to specifically identify electronic documents for
20   deletion. Any such archival copies that contain or constitute Protected Material remain
21   subject to this Protective Order as set forth in Section 4 (DURATION).
22         14.    Any violation of this Order may be punished by any and all appropriate
23   measures including, without limitation, contempt proceedings and/or monetary sanctions.
24   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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 1   Dated: August 26, 2019                RUTTENBERG IP LAW
 2
                                     By:               /s/ Guy Ruttenberg
 3                                                    GUY RUTTENBERG
 4                                         Attorney for Plaintiff
 5
                                           ARMEN MARDIROS

 6

 7
     Dated: August 26, 2019                DURIE TANGRI LLP

 8

 9
                                     By:               /s/ David McGowan
                                                      DARALYN J. DURIE
10
                                                      DAVID McGOWAN
                                                         VERA RANIERI
11
                                                        TARA J. NORRIS

12
                                           Attorneys for Defendant
                                           CITY OF HOPE
13

14   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

15   DATED:    August 26, 2019               /s/ MARIA A. AUDERO

16
                                                   Honorable Maria A. Audero
17                                                United States Magistrate Judge

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 1                                           EXHIBIT A
 2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I, ________________________ [print or type full name], of
 4   _________________________ [print or type full address], declare under penalty of
 5   perjury that I have read in its entirety and understand the Stipulated Protective Order that
 6   was issued by the United States District Court for the Central District of California on
 7   ______________ [date] in the case of __________________________ [insert formal
 8   name of the case and the number and initials assigned to it by the court]. I agree to comply
 9   with and to be bound by all the terms of this Stipulated Protective Order and I understand
10   and acknowledge that failure to so comply could expose me to sanctions and punishment
11   in the nature of contempt. I solemnly promise that I will not disclose in any manner any
12   information or item that is subject to this Stipulated Protective Order to any person or
13   entity except in strict compliance with the provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court for
15   the Central District of California for the purpose of enforcing the terms of this Stipulated
16   Protective Order, even if such enforcement proceedings occur after termination of this
17   action. I hereby appoint _____________________ [print or type full name] of
18   _________________________ [print or type full address and telephone number] as my
19   California agent for service of process in connection with this action or any proceedings
20   related to enforcement of this Stipulated Protective Order.
21   Date: _______________________
22   City and State where sworn and signed: _________________________
23   Printed name: _______________________________
24   Signature: __________________________________
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                STIPULATED PROTECTIVE ORDER / CASE NO. 2:19-CV-02196-R(MAAX)
